USCA4 Appeal: 23-1719   Doc: 10-13        Filed: 07/17/2023     Pg: 1 of 5




                 DECLARATION OF ALLAN BARALL FILED WITH MOTION FOR PRELIMINARY INJUNCTION
USCA4 Appeal: 23-1719    Doc: 10-13    Filed: 07/17/2023  Pg: 2 of 5
               Case 8:21-cv-01736-TDC Document 52-2 Filed 12/06/22 Page 1 of 4



     1

     2                          IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MARYLAND
     3

     4    MARYLAND SHALL ISSUE, INC., et al.,            )
                                                         )
     5    Plaintiffs,                                    )
                                                         )
     6
          v.                                             ) Case No. 8:21-cv-01736-TDC (L)
     7                                                   ) Case No. 8:22-cv-01967-DLB
          MONTGOMERY COUNTY, MD.,                        )
     8                                                   )
          Defendant.                                     )
     9

    10
                                  DECLARATION OF ALLAN D. BARALL
    11
                        COMES NOW, the declarant, ALLAN D. BARALL, and hereby solemnly declares
    12

    13   under penalties of perjury and states that based upon personal knowledge that the contents of the

    14   following declaration are true to the best of my knowledge:
    15
                        1. My name is ALLAN D. BARALL, and I am member of Maryland Shall Issue,
    16
         Inc., a plaintiff in the above-captioned matter. I am an adult over the age of 18, a Montgomery
    17
         County, Maryland resident and I am fully competent to give sworn testimony in this matter.
    18

    19                  2. I am a member of my Jewish synagogue in Potomac, and I serve as a volunteer

    20   plain-clothed armed security member of that synagogue located in Montgomery County, Maryland
    21
         with the permission of the rabbi and synagogue leadership.
    22
                        3. I chose to obtain my wear and carry handgun permit in 2020 at the request of the
    23
         synagogue’s rabbi. In addition to myriad notable international Antisemitic incidents that that took
    24

    25   place prior to that year, according to the Anti-Defamation League in 2019 there were 2,107 anti-

    26   Semitic incidents recorded in the United States that year alone. Following the deadly October 2018
    27
         armed attack against the Tree of Life – Or L’Simcha Congregation in Pittsburgh, Pennsylvania, in
    28                                                   1



                                             EXHIBIT O
USCA4 Appeal: 23-1719    Doc: 10-13    Filed: 07/17/2023  Pg: 3 of 5
               Case 8:21-cv-01736-TDC Document 52-2 Filed 12/06/22 Page 2 of 4



     1   2019 there were multiple violent attacks, including: an April 2019 armed attack against Chabad of
     2
         Poway synagogue in Poway, California; a December 2019 knife attack against rabbi in Monsey,
     3
         New York, and a December 2019 attack in a kosher grocery store in Jersey City, New Jersey. In
     4
         addition to service attendees, worshippers, and guests in our synagogue, we also have multiple
     5

     6   priceless Hebrew Torah Scrolls that are adorned with silver. These Torah scrolls are routinely

     7   taken out of their storage for use during religious services, in preparation for upcoming services,
     8
         and for frequent adjustment, checking, and repair. In light of all of this, my synagogue’s rabbi
     9
         requested that I serve as an armed volunteer to enhance our security.
    10
                        4. The unfortunate trend of Antisemitism I cite above has only gotten worse
    11

    12   according to publicly available religious bias and hate crimes reports from both the Anti-

    13   Defamation League and the Federal Bureau of Investigation. And, in 2021 while I was walking
    14
         along a busy road to my synagogue for Sabbath services on a Saturday morning, the occupant of
    15
         a passing car yelled an Antisemitic statement at me.
    16
                        5. By way of background, I am a retired and decorated United States Army colonel.
    17

    18   I faithfully served as an Army military intelligence officer for over 31 years with a security

    19   clearance above Top Secret and with polygraphs.         I served in Special Forces and Special
    20
         Operations units in Afghanistan and other global locations, in major intelligence organizations, at
    21
         the White House on the National Security Council staff, and at the Pentagon on the staff of the
    22
         Chairman of the Joint Chiefs of Staff. In one assignment with an Army unit designated to provide
    23

    24   support to United States embassies I routinely qualified with weapons to the same certification

    25   standard as US Department of State Diplomatic Security officers on dynamic ranges.
    26
                        6. In another synagogue that my family and I previously attended, I stood up, led,
    27
         and managed a comprehensive security operation.         While effective, it was also required a
    28                                                   2
USCA4 Appeal: 23-1719    Doc: 10-13    Filed: 07/17/2023  Pg: 4 of 5
               Case 8:21-cv-01736-TDC Document 52-2 Filed 12/06/22 Page 3 of 4



     1   significant amount of manpower to staff multiple shifts across Saturday Sabbaths and many
     2
         holidays throughout the year alongside paid off-duty and retired law enforcement officers hired by
     3
         the synagogue. While the off-duty and/or retired law enforcement officers are professional, they
     4
         are also expensive and limited to working very few hours one day per week during the main service
     5

     6   in the morning. However, synagogues hold services and classes almost every day on weekdays,

     7   weekends, and government holidays. Most importantly, the law enforcement officers generally
     8
         lacked the innate awareness of Jewish cultural nuances and behaviors that indicate someone just
     9
         doesn’t belong at the synagogue at that time.
    10
                        7. By its text, Bill 21-22E bans me and others with similar backgrounds,
    11

    12   dispositions, and bona fides from wear and carry of firearms for protection at our synagogue, which

    13   is physically situated close to a road with relatively easy access. Our current wear and carry
    14
         permits, granted by the Maryland State Police after background checks, are no longer sufficient
    15
         for carry in my synagogue, despite the request of my rabbi, under Montgomery passage of Bill 21-
    16
         22E. This exposes my synagogue, its property, and its members and guests – my friends and
    17

    18   neighbors – to the very real risk of not being armed in the fact of an attack, like those I describe

    19   above.
    20
                        8. It is my opinion that the result of Bill 21-22E infringes on my personal right of
    21
         self-defense, on the collective rights of my congregation to permit and choose members to be
    22
         armed, and creates risk in the face of an attack such as I describe above. It is ironic that my rabbi,
    23

    24   my community, the United States government and United States Armed Forces, and the State of

    25   Maryland trust me to be armed, but Montgomery County does not.
    26
                        9. I hereby declare that the factual allegations in the complaint that relate or refer
    27
         to myself and my synagogue are true to the best of my knowledge.
    28                                                     3
USCA4 Appeal: 23-1719    Doc: 10-13    Filed: 07/17/2023  Pg: 5 of 5
               Case 8:21-cv-01736-TDC Document 52-2 Filed 12/06/22 Page 4 of 4



     1                                              /s/ Allan D. Barall
     2
                                                  Dated: December 1, 2022:
     3                                            ALLAN D. BARALL

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